                           Case 23-11966-TMH              Doc 3      Filed 12/11/23        Page 1 of 3




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


             In re:                                                  Chapter 11

             NEAR INTELLIGENCE, INC.,                                Case No. 23-11962 (TMH)

                                        Debtor.                      Tax ID: XX-XXXXXXX


             In re:                                                  Chapter 11

             NEAR INTELLIGENCE LLC,                                  Case No. 23-11965 (TMH)

                                        Debtor.                      Tax ID: XX-XXXXXXX


             In re:                                                  Chapter 11

             NEAR INTELLIGENCE PTE. LTD.,                            Case No. 23-11966 (TMH)

                                        Debtor.                      Tax ID: N/A


             In re:                                                  Chapter 11

             NEAR NORTH AMERICA, INC.,                               Case No. 23-11967 (TMH)

             Debtor.                                                 Tax ID: XX-XXXXXXX


                                    ORDER AUTHORIZING JOINT
                         ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                  Upon the motion (the “Motion”)1 of the debtors and debtors in possession in the above-

         captioned cases (collectively, the “Debtors”) for entry of an order, pursuant to section 105(a) of

         the Bankruptcy Code, Bankruptcy Rule 1015(b), and Local Rule 1015-1, authorizing the joint

         administration of the Debtors’ Chapter 11 Cases; and upon consideration of the Motion and all of



         1
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.

31038333.1
                         Case 23-11966-TMH          Doc 3       Filed 12/11/23   Page 2 of 3




         the pleadings related thereto, including the First Day Declaration; and due and proper notice of the

         Motion having been given; and having determined that no other or further notice of the Motion is

         required; and having determined that this Court has jurisdiction to consider the Motion in

         accordance with 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from

         the United States District Court for the District of Delaware, dated as of February 29, 2012; and

         having determined that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and having

         determined that venue of these cases and the Motion is proper pursuant to 28 U.S.C. §§ 1408 and

         1409; and upon the record of the hearing held on the Motion; and due and sufficient notice of the

         Motion having been given; and it appearing that no other or further notice need be provided; and

         it appearing that the relief requested by the Motion is in the best interests of the Debtors’ estates,

         their creditors, and other parties in interest; and after due deliberation and sufficient cause

         appearing therefor,

                IT IS HEREBY ORDERED THAT:

                1.      The Motion is GRANTED to the extent set forth herein.

                2.      The Chapter 11 Cases shall be consolidated for procedural purposes only and shall

         be jointly administered in accordance with the provisions of Bankruptcy Rule 1015 and Local Rule

         1015-1.

                3.      The Clerk of this Court shall maintain one file and one docket for all of the Chapter

         11 Cases, which file and docket shall be the file and docket for the Chapter 11 Case of Debtor

         Near Intelligence, Inc., Case No. 23-11962 (TMH).

                4.      All pleadings filed in the Chapter 11 Cases shall bear a consolidated caption in the

         following form:




31038333.1
                                                            2
                            Case 23-11966-TMH               Doc 3       Filed 12/11/23        Page 3 of 3




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                     Chapter 11

             NEAR INTELLIGENCE, INC., et al.,1                          Case No. 23-11962 (TMH)

                                         Debtors.                       (Jointly Administered)



         1    The Debtors in these chapter 11 cases, along with the last four digits of their federal tax identification numbers,
              to the extent applicable, are Near Intelligence, Inc. (7857), Near Intelligence LLC (7857), Near North America,
              Inc. (9078), and Near Intelligence Pte. Ltd. The Debtors’ headquarters is located at 100 W Walnut St., Suite A-
              4, Pasadena, CA 91124.

                  5.       All original pleadings shall be captioned as indicated in paragraph 4 and the Clerk

         of this Court shall make docket entries in the docket of each of the Chapter 11 Cases, other than

         the Chapter 11 Near Intelligence, Inc., substantially as follows:

                           An order has been entered in this case in accordance with
                           Bankruptcy Rule 1015(b) directing the procedural consolidation and
                           joint administration of the chapter 11 cases of Near Intelligence,
                           Inc., Near Intelligence LLC, Near North America, Inc., and Near
                           Intelligence Pte. Ltd. The docket in the chapter 11 case of Near
                           Intelligence, Inc., Case No. 23-11962 (TMH), should be consulted
                           for all matters affecting these cases.

                  6.       Nothing in the Motion or this Order is intended or shall be deemed or otherwise

         construed as directing or otherwise effecting a substantive consolidation of the Debtors’ estates.

                  7.       This Court shall retain exclusive jurisdiction with respect to all matters arising from

         or related to the implementation, interpretation, and enforcement of this Order.




                Dated: December 11th, 2023                           THOMAS M. HORAN
                Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE


31038333.1
                                                                    3
